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                  United States Court of Appeals
                               For the First Circuit


      No. 22-1521

                          TOWN OF MILTON, MASSACHUSETTS,

                                        Petitioner,

                                            v.

            FEDERAL AVIATION ADMINISTRATION and BILLY NOLEN, Acting
             Administrator of the Federal Aviation Administration,

                                    Respondents.


                        PETITION FOR REVIEW OF AN ORDER OF
                        THE FEDERAL AVIATION ADMINISTRATION


                                          Before

                           Montecalvo, Selya, and Lynch,
                                  Circuit Judges.


           Karis L. North, with whom Murphy, Hesse, Toomey & Lehane, LLP
      was on brief, for petitioner.
           Thomas J. Dougherty on brief for Congressman Stephen F. Lynch,
      State Senator Walter F. Timilty, and State Representative William
      J. Driscoll, Jr., amici curiae.
           David S. Frankel, Attorney, Appellate Section, Environment
      and Natural Resources Division, U.S. Department of Justice, with
      whom Todd Kim, Assistant Attorney General, Justin D. Heminger,
      Attorney, Appellate Section, Environment and Natural Resources
      Division, Scott E. Mitchell, Assistant Chief Counsel, Federal
      Aviation Administration, Laura Price, Acting Manager, Airports and
      Environmental Law, Office of the Chief Counsel, and Evan Baylor,
      Attorney Advisor, Airports and Environmental Law, Office of the
      Chief Counsel, were on brief, for respondent.
           Cindy L. Christiansen, PhD and John Rowe, pro se, on brief
      for themselves as amici curiae.
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                                  November 30, 2023
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                    SELYA,      Circuit      Judge.         The     Federal        Aviation

      Administration         (FAA)   initiated    the    process    of   shifting        from

      ground-based navigation to satellite-based navigation at Boston's

      Logan International Airport (Logan).               This shift, which was aimed

      at increasing the safety and efficiency of flight procedures,

      relegated certain approaches and departures at Logan to a narrower

      swath of airspace that covers the Town of Milton, Massachusetts

      (the Town).       Dismayed by the possibility of heavier air traffic

      over its terrain, the Town objected to the FAA's proposed course

      of   action      and    mounted   an    extensive     campaign     to      block   the

      implementation of the new flight procedure.

                    The campaign came to naught: the FAA rejected the Town's

      entreaties and entered a final order authorizing the new flight

      procedure.       The Town, a mostly residential community which is

      located about ten miles southwest of Logan, now petitions for

      judicial review of the FAA's final order.                Its location, the Town

      says, subjects it to heavy air traffic, and many residents decry

      the resulting noise.

                    In its petition for review, the Town contends that the

      FAA's environmental analysis of the noise impacts failed to comply

      with the agency's obligations under the National Environmental

      Policy Act (NEPA), see 42 U.S.C. §§ 4321 - 4370m-11, and that the

      noise     from    this    challenged      flight     procedure     disturbs        Town

      residents.       We do not reach the merits of these contentions.


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                  The FAA responds that the Town does not have standing to

      challenge its final order because it failed to satisfy the first

      prong of the standing test:        injury in fact to its own interests.

      See TransUnion LLC v. Ramirez, 141 S. Ct. 2190, 2203-04 (2021).

      We agree with the FAA.        The harms that the Town asserts are not

      legally cognizable harms to the Town itself.                     Consequently, we

      dismiss the Town's petition for want of Article III standing.                         In

      reaching this result, we agree with other courts of appeals that

      have dismissed municipal NEPA challenges to FAA orders for want of

      Article III standing because those challenges failed to show

      cognizable injury to the municipalities themselves.                         See, e.g.,

      City of N. Miami v. F.A.A., 47 F.4th 1257, 1277 (11th Cir. 2022);

      Arapahoe Cnty. Pub. Airport Auth. v. F.A.A., 850 F. App'x 9, 11

      (D.C. Cir. 2021) (per curiam); cf. City of Olmsted Falls v. F.A.A.,

      292 F.3d 261, 267-68 (D.C. Cir. 2002) (explaining that municipality

      had standing only because it showed injury to itself based on Clean

      Air Act requirements with which it had to comply).

                                               I

                  Before turning to the parties' arguments, we briefly

      rehearse the law on standing. Federal courts are courts of limited

      jurisdiction that may entertain only "Cases" or "Controversies."

      U.S. Const. art. III, § 2, cl. 1.                  "For there to be a case or

      controversy    under   Article    III,       the      [petitioner]    must     have   a

      'personal    stake'    in   the   case       —   in    other   words,       standing."


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      TransUnion, 141 S. Ct. at 2203 (quoting Raines v. Byrd, 521 U.S.

      811, 819 (1997)).      "As the party invoking federal jurisdiction,

      the [petitioner] bear[s] the burden of demonstrating that [it has]

      standing."    Id. at 2207-08 (citing Lujan v. Defs. of Wildlife, 504

      U.S. 555, 561 (1992)).        The petitioner "must show (i) that [it]

      suffered an injury in fact that is concrete, particularized, and

      actual or imminent; (ii) that the injury was likely caused by the

      [respondent]; and (iii) that the injury would likely be redressed

      by judicial relief."        Id. (citing Lujan, 504 U.S. at 560-61).

                  Concreteness and particularization are independent and

      necessary prerequisites of the injury in fact requirement.                    See

      Spokeo, Inc. v. Robins, 578 U.S. 330, 334 (2016).             To be concrete,

      "the asserted harm [must have] a 'close relationship' to a harm

      traditionally recognized as providing a basis for a lawsuit in

      American courts — such as physical harm, monetary harm, or various

      intangible harms including . . . reputational harm."               TransUnion,

      141 S. Ct. at 2200 (quoting Spokeo, 578 U.S. at 340-41).                    To be

      particularized, the harm "must go beyond a generalized grievance[]

      to manifestly affect the [petitioner] in a personal and individual

      way."     Lyman v. Baker, 954 F.3d 351, 361 (1st Cir. 2020) (first

      alteration in original) (internal quotations omitted); see Save

      Our Heritage, Inc. v. F.A.A., 269 F.3d 49, 55 (1st Cir. 2001)

      (explaining    that,   in    order   to     satisfy   the    injury    in    fact




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      requirement, "the petitioner [must be] someone who has suffered or

      is threatened by injury in fact to a cognizable interest").

                  In order to satisfy the traceability (causation) and

      redressability requirements, a petitioner must "allege personal

      injury [that is] fairly traceable to the [respondent]'s allegedly

      unlawful conduct and likely to be redressed by the requested

      relief."     California v. Texas, 141 S. Ct. 2104, 2113 (2021)

      (quoting DaimlerChrysler Corp. v. Cuno, 547 U.S. 332, 342 (2006)).

      If the petitioner fails to show any of these three elements, we

      cannot review the proffered matter on its merits.                See Katz v.

      Pershing, LLC, 672 F.3d 64, 75-76 (1st Cir. 2012).

                                           II

                  Against   this   backdrop,      we   proceed   to   appraise    the

      particulars of the case at hand.             The parties' dispute about

      standing focuses on whether the Town has shown injury in fact.               In

      its opening brief, the Town argues that it has suffered injury

      because of:      "the impact of noise on its residents, including

      increased annoyance and complaints about noise made both to Town

      officials and to . . . the FAA"; and the "considerable time and

      money" that it spent "addressing these issues."              We examine each

      of these arguments but find them wanting.

                                           A

                  The Town first argues that it has suffered injury in

      fact in the form of "the impact of noise on its residents."             Black-


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      letter law dictates that harm to others, such as the Town's

      residents, is insufficient to show an injury that is particularized

      to the petitioner itself.          See Lujan, 504 U.S. at 560 n.1 (noting

      that "the injury must affect the [petitioner] in a personal and

      individual way" to be "particularized"); Sierra Club v. Morton,

      405    U.S.   727,   734-35      (1972)   ("[T]he    'injury      in   fact'   test

      requires . . . . that the party seeking review be [it]self among

      the injured.").         We first explore the injury in fact requirement

      in the context of municipal standing, and then we turn to the

      specifics of some of our prior cases that the Town cites in its

      defense.

                                                1

                    Several    cases    from    other     courts   of    appeals     have

      established that municipalities cannot assert that they have been

      injured because of an alleged injury to their residents.                        For

      example, in City of Olmsted Falls v. FAA, the D.C. Circuit examined

      whether the City of Olmsted Falls, Ohio, had standing to sue the

      FAA for its approval of a runway improvement project at Cleveland

      Hopkins International Airport.            See 292 F.3d 261, 265, 267 (D.C.

      Cir. 2002).      Relying in part on harm to its residents, the City

      contended that the FAA's approval violated, inter alia, NEPA and

      the Clean Air Act (CAA), see 42 U.S.C. §§ 7401-7671q.                   See id. at

      267.




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                     The D.C. Circuit rejected the City's argument that "it

      may represent its citizens, much as a private association could

      represent its members' interests."                 Id.     The court held that this

      argument       "misconceive[d]          the   very     concept      of   associational

      standing"       as   "[t]he      City    does   not      have     'members'   who   have

      voluntarily associated, nor are the interests it seeks to assert

      here       germane   to   its    purpose."         Id.     at   267-68   (emphasis    in

      original). Instead, as the court held, "the City [was] effectively

      attempting to assert the alleged interests of its citizens under

      the doctrine of parens patriae."                  Id. at 268.       It reasoned that,

      because "a state may not sue the federal government on behalf of

      its citizens as parens patriae,"1 municipalities, which "derive

      their       existence     from    the     state      and    function     as   political

      subdivisions of the state," also "presumably" cannot sue the

      federal government under this doctrine.2                    Id.

                     In City of North Miami v. FAA, the Eleventh Circuit

      endorsed this reasoning and held that the municipal petitioners




             A state cannot sue the federal government, asserting the
             1

      interests of its citizens as parens patriae, because "it is the
      United States, and not the state, which represents [a state's
      citizens] as parens patriae." Massachusetts v. Mellon, 262 U.S.
      447, 485-86 (1923).

            In Arapahoe County Public Airport Authority v. FAA, the D.C.
             2

      Circuit recently reaffirmed its reasoning in Olmsted Falls and
      rejected the municipal petitioners' NEPA challenge to an FAA order,
      which claimed standing based on harms, such as noise impacts, to
      residents. See 850 F. App'x 9, 11 (D.C. Cir. 2021) (per curiam).


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      did not have standing to challenge the FAA's alleged failure to

      comply with NEPA based on impacts, such as increased noise, to

      their residents.        See 47 F.4th 1257, 1277 (11th Cir. 2022).               The

      court     concluded    that,    "[b]y    invoking   the     interests    of   their

      residents, the municipalities are attempting to sue the FAA under

      a parens patriae theory."          Id.

                   The Town attempts an end-run around this body of case

      law by disclaiming any intent to represent its residents as parens

      patriae.     Relatedly, it denies that it "bas[es] its claims of harm

      on   individual       impacts   to   citizens."        In    defense     of   these

      contentions, the Town mistakenly relies on language in Olmsted

      Falls, in which the court, "[t]aking a generous reading of the

      petitioner's materials," held that the City had "alleged harm to

      its own economic interests based on the environmental impacts of

      the [FAA-]approved project."             292 F.3d at 268.      Unlike the Town,

      the City in Olmsted Falls showed injury to itself because the CAA

      imposed a requirement on the City to comply with air quality

      standards.     See id.

                   In reaching this conclusion, the D.C. Circuit cited a

      prior opinion in which it had blessed a showing of injury in fact

      by municipal petitioners on the theory that new federal automobile

      fuel economy standard would "adversely affect[] air quality in

      their urban areas, making it more difficult for them to comply, as

      they must, with the air quality standards imposed upon them by the


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       [CAA]."      Id. (emphasis supplied) (citing City of Los Angeles v.

       Nat'l Highway Traffic Safety Admin., 912 F.2d 478, 484-85 (D.C.

       Cir. 1990), overruled on other grounds by Florida Audubon Soc'y v.

       Bentsen, 94 F.3d 658 (D.C. Cir. 1996)).                   This alleged increase in

       difficulty      complying         with      CAA          standards     inflicted      a

       "constitutionally cognizable injury."                    City of Los Angeles, 912

       F.2d at 485.        Here, however, the Town sued only under NEPA, which

       —   unlike    the    CAA   —   does   not       impose    standards   with    which   a

       municipality must comply.3

                                                   2

                    In further defense of its position, the Town cites a

       line of cases in which we reviewed municipal challenges to FAA

       actions based on harms such as increased traffic congestion.                       See,

       e.g., Town of Marshfield v. F.A.A., 552 F.3d 1 (1st Cir. 2008);

       Town of Winthrop v. F.A.A., 535 F.3d 1, 7 (1st Cir. 2008); Save

       Our Heritage, Inc. v. F.A.A., 269 F.3d 49, 55 (1st Cir. 2001).

       These cases are inapposite, and our decision in Save Our Heritage

       illustrates the point.          There, we declined to decide whether the

       municipal     petitioners      themselves         had    standing    based   on   their


             3The determination of the Olmsted Falls court that the
       municipal petitioner had standing to advance all its statutory
       grievances, predicated on injury under only one of those statutes,
       predated TransUnion.    This timing bears mention because the
       TransUnion court stated that "standing is not dispensed in gross;
       rather, [petitioners] must demonstrate standing for each claim
       that they press." 141 S. Ct. at 2208; see Webb v. Injured Workers
       Pharmacy, LLC, 72 F.4th 365, 372 (1st Cir. 2023).


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       "direct interest" (that is, injury from the FAA's ruling).                     Save

       Our Heritage, 269 F.3d at 55.             We recognized that deciding the

       issue was unnecessary because two joint petitioners (non-profit

       landowners) "would be affected by both noise and air pollution,"

       and "[i]t is sufficient for the case to proceed if at least one

       petitioner has standing."           Id.   Any statements about the likely

       standing of the municipal petitioners were merely dictum.

                      Nor is the Town's argument supported by our decision in

       Winthrop, which also featured two local residents as individual

       petitioners (both of whom had standing).               See 535 F.3d at 3.          In

       contrast, the Town is the sole petitioner seeking standing here —

       and there are no individual resident petitioners.

                      So, too, our decision in Marshfield does not bear the

       weight that the Town piles upon it.            See 552 F.3d 1.      The municipal

       petitioner there brought a claim under the National Historic

       Preservation Act, see 16 U.S.C. §§ 470 - 470x-6 (2000) (current

       version at 54 U.S.C. §§ 300101 - 320303), which clearly imposes

       some       obligations   concerning    historic     sites    in    and    around   a

       municipality.        See Marshfield, 552 F.3d at 5.            For that reason,

       there was no need for a discussion of standing.                   Here, unlike in

       Marshfield, the Town has not identified any concrete harm to a

       municipally owned site within its borders.4                 The case before us



              Although the Town makes a passing reference to "pollution
              4

       impacts" on the Town itself, it neither elaborates on the nature


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       remains factually and legally distinct from the cases to which the

       Town alludes.

                  The Town, in a footnote in its reply brief, points to

       one more case that it says found that a municipality may sue to

       recover damages on behalf of itself and "other similarly injured

       and situated persons," at least under Mass. Gen. Laws ch. 93A,

       § 11.    Town of Randolph v. Purdue Pharma L.P., No. 19-10813, 2019

       WL 2394253, at *5 (D. Mass. June 6, 2019).             That decision is not

       binding authority and — in any event — fails to advance the Town's

       cause.   First, because Randolph already required a remand to state

       court on other jurisdictional grounds, see id. at *5, a standing

       discussion would have been superfluous.              Second, the complaint

       there sought damages for "decreased tax revenue and diminished

       property values" as well as "'municipal expenditures' resulting

       from the opioid epidemic," id. at *1, which are substantially

       different than the injuries that the Town has alleged here.               Thus,

       Randolph furnishes no comfort for the Town's standing argument.

                                             B

                  The Town next argues that it has suffered concrete

       economic   injury   as   a   result   of    the   expenses   it   incurred    in

       challenging the new flight procedure.             The Town describes these

       costs, which derive from assorted activities:                 Town officials



       of these impacts nor identifies any facts that we could construe
       as supporting such a theory of harm.


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       devoted "considerable time and money [to] addressing" residents'

       noise complaints; Town officials attempted to coordinate with

       Logan personnel, the FAA, and state and federal elected officials;

       the Town formed an advisory committee on airplane noise composed

       of Town residents; the Town purchased noise monitors, which Town

       residents staffed as volunteers; and the Town retained lawyers to

       represent         it     both   at   the    administrative       level    and    in   this

       proceeding.5           These activities, the Town complains, constituted

       injury to the Town because they diverted "precious municipal

       resources" from other core functions that the Town must perform.

                        We reject this theory of standing, which again fails to

       pass muster upon consideration of the first element of the standing

       inquiry:          injury in fact.          Inasmuch as the municipal government

       exists to support its citizens, any action that it takes inherently

       serves that purpose and cannot be an injury to it.                         Put another

       way,       a    municipality     cannot     claim     that    reallocating      municipal

       resources to address one of its residents' concerns is an injury

       because this decision simply represents a policy preference to

       prioritize         one    government       function    over    another.         Cf.   Conn.

       Citizens Def. League, Inc. v. Lamont, 6 F.4th 439, 447 (2d Cir.




              We summarily disregard this final assertion of harm because
              5

       attorneys' fees cannot constitute injury in fact. See Thole v.
       U.S. Bank N.A., 140 S. Ct. 1615, 1619 (2020) (explaining that
       attorneys' fees did not give petitioners a "concrete stake in the
       lawsuit").


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       2021) (holding that a non-profit organization's allocation of

       resources to effectuate responsibilities in furtherance of its

       mission cannot constitute injury in fact because this action does

       not divert resources from its "current activities").

                         The   Town   asseverates    that     it   has    been    injured   by

       allocating its "limited funds" to advocate against the imposition

       of the new flight procedure over the Town rather than to carry out

       other "statutory responsibilities and obligations."                       Yet, the Town

       also denies that this asseveration relies on an associational

       standing theory.           It concedes that "a municipality is not like an

       advocacy organization" and "engagement with the FAA is not its

       mission."          To the Town's credit, a municipality in many ways is

       unlike organizations to which the associational standing cases

       refer.       It is not a voluntary association of members with common

       interests.          Nor is the Town an association whose purpose is to

       represent and advance a common interest of its members.                           After

       all, the Town was not formed under Massachusetts law to pursue an

       ideological mission.

                         These differences, though, mean that a municipality will

       have       more    difficulty    running     the   standing       gauntlet    than   an

       organization.           A resource-diversion argument is available only to

       petitioners who allege associational standing6 — and only to those



              Here, we use the term "associational standing" to include
              6

       "organizational standing."


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       who have shown that "the challenged conduct frustrated their

       organizational missions and that they diverted resources to combat

       that conduct."    Friends of the Earth v. Sanderson Farms, Inc., 992

       F.3d 939, 942 (9th Cir. 2021); see Havens Realty Corp. v. Coleman,

       455 U.S. 363, 379 (1982) (holding that an organization suffers

       injury in fact when its key activities are "perceptibly impaired"

       and its resources "consequent[ly] drain[ed]"); Equal Means Equal

       v.   Ferriero,   3   F.4th   24,     29-30     (1st   Cir.    2021)      (rejecting

       associational standing predicated on organizations' expenditure of

       "additional resources to ensure that the law [benefitting their

       members] will be treated as having legal effect").                    As we have

       discussed, the Town is not an association that can represent its

       members'   interests.        Thus,     its    reliance   on    principles      from

       associational standing case law is misplaced.

                  The Town acknowledges the force of this comparison but

       counters that these differences suggest that a municipality has a

       stronger justification for a resource-diversion theory of harm.

       It maintains that its efforts exceed "mere advocacy," pointing to

       "the cost of purchasing and deploying its own field noise monitors,

       attended by Town volunteers."           We fail to see how this example

       materially    differs   from     the    type    of    work   that   an    advocacy

       organization might perform.




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                                           III

                  In its reply brief, the Town for the first time argues

       a new form of alleged injury:       that it was "harmed when residents

       s[old] their homes and move[d] away from Milton because of noise

       impacts, which" caused fiscal and reputational harm.             Because the

       Town did not raise this argument in a timely and complete manner,

       we deem it waived.     See Sandstrom v. ChemLawn Corp., 904 F.2d 83,

       86 (1st Cir. 1990) (explaining that argument not raised until

       appellant's reply brief is deemed waived); see also United States

       v. Zannino, 895 F.2d 1, 17 (1st Cir. 1990) (explaining that

       argument made "in a perfunctory manner, unaccompanied by some

       effort at developed argumentation, [is] deemed waived").

                  The newly asserted injury assumes that an exodus of

       residents hurts the Town's financial interests and reputation in

       a legally cognizable manner, but introducing these assumptions

       extends the argument well beyond that which the Town advanced in

       its opening brief. Moreover, that the Town's coffers are shrinking

       (the financial injury that the new theory seems to assert) is a

       wholly different harm than the Town having to reallocate existing

       funds from core functions to challenge the new flight procedure

       (the only theory of financial injury set forth in the Town's

       opening brief).    Introducing this asserted harm, coupled with the

       new assertion of reputational harm, plainly extends the argument

       beyond that which the Town advanced in its opening brief.                   It


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       follows that the Town's new standing argument is both legally and

       factually distinct from the arguments advanced in its opening

       brief.   Given these facts, we deem this argument waived.

                                           IV

                  We need go no further. For the reasons elucidated above,

       we dismiss the Town's petition for want of Article III standing.

       Each party shall bear its own costs.



       Dismissed.




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